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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF NEW JERSEY

                          MINUTES OF PROCEEDINGS

 CAMDEN OFFICE:                           DATE OF PROCEEDINGS: 8/5/15


 JUDGE: Robert B. Kugler

 COURT REPORTER: Carl Nami, Jr.

 OTHERS:                            DOCKET NOS. Civ. #13-784, 12-7468,
                                                12-7747, 13-3350, 13-
                                                3244,13-4569, 13-5763,
                                                13-7410
 TITLE OF CASE:

 IN RE: PAULSBORO DERAILMENT CASES


 APPEARANCES:
 Mark Cuker, Esq. for pltfs. Breeman, Morris, et al.
 Joe Venti, Esq. for pltfs. Breeman, Morris, et al.
 Michael Levin, Esq. for Truluck pltfs.
 Ralph Wellington, Esq. for defts.
 Lisa Rodriguez, Esq. for defts.
 David A. Damico, Esq. for defts.
 Jeffrey A. Jackson, Esq. for defts.


 NATURE OF PROCEEDINGS: - DAUBERT HEARING HELD

 1.    Hearing on defts. Consolidated Rail Corp., Norfolk Southern
       Railway Co. & CSX Transportation, Inc.’s motion to exclude
       expert report and testimony of pltfs.’ expert Panos G.
       Georgopolous, M.S., PHD.

       Dr. Lloyd Schulman sworn for defts.

 2.    Hearing on pltfs.’ motion to exclude the expert report and
       testimony of defts.’ expert Greg Yarwood, Ph.D.

 3.    Hearing on pltfs.’ motion to exclude the expert Report &
       Opinions of defts. Experts Schulman & DesAutels.


                                    (over)
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 DISPOSITION:

 ORDERED motions DENIED. Order to be entered.




                                   s/Barbara Fisher
                                      Deputy Clerk


 Time Commenced: 9:35 AM           Time Adjourned: 3:05 PM
